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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO: 21-14056-Civ-MIDDLEBROOKS

  PEDRO COLLAZO

        Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________


              DEFENDANT UNITED STATES’ NOTICE OF SETTLEMENT

                  The undersigned Assistant United States Attorney hereby reports to the Court

        that the parties have verbally agreed to settle all claims against the United States in this

        action. The settlement and release documents have not been signed at the time of this

        filing.

        Dated: July 2, 2021

                                                      Respectfully submitted,


                                                      JUAN ANTONIO GONZALEZ
                                                      ACTING UNITED STATES ATTORNEY

                                                      /s/Lawrence Rosen
                                                      LAWRENCE ROSEN
                                                      ASSISTANT U.S. ATTORNEY
                                                      FL Bar No. 282911
                                                      99 NE 4th Street, 3rd Floor
                                                      Miami, Florida 33132
                                                      Telephone: (305) 961-9321
                                                      E-mail: Larry.Rosen@usdoj.gov
                                                      Counsel for United States of America
